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Memor`andum ' "

    

 

 

 

 

Subj: Date? mm JU _, , _
UNITED STATES v. Angel Tov Cornoration June 30’ 2010 1 l PH 3‘ 20 6 f '/"
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To: TERRY NAFISI From: SarahBE€t/iff“--“ -~-»~-w-. ..Q \
'§="_ Clerk, United States District Court Assi'stant United States A _
Central District of California Criminal Division

The accompanying matter being filed on July 1, 2010,

relates to _ X does not relate to

(l) a matter pending in the Criminal Division of the USAO at any time between October 2002 and October 5, 2003,
the dates during which Jacqueline Chooljian was Chief of the Criminal Division in the USAO; (2) a matter pending
in the Major Frauds Section of the USAO at any time between October 5, 2003 and January 6, 2006, the date on
which Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which Jacqueline Chooljian
was personally involved or on which she was personally consulted while employed in the USAO.

relates to X does not relate to

a matter in which Patr`ick J. Walsh was personally involved or on which he was personally consulted while employed
in the USAO.

Sar evitt
Assistant United States Attorney

 

